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                  UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF TEXAS
                         WACO DIVISION
VIDEOSHARE, LLC                       §
                                      §      CIVIL NO:
vs.                                   §      WA:19-CV-00663-ADA
                                      §
GOOGLE LLC, YOUTUBE, LLC              §


      LIST OF WITNESSES - BENCH TRIAL (11/15 and 11/16)

FOR PLAINTIFF                             FOR DEFENDANT
1.  Gregory Gonsalves                     1.  Gad Liwerant
2.                                        2.  Nicholas Godici
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